        Case 2:19-bk-14989-WB            Doc 435 Filed 11/13/19 Entered 11/13/19 18:23:27              Desc
                                          Main Document    Page 1 of 7


    1   Ashley M. McDow (245114)
        John A. Simon (admitted Pro Hac Vice)
    2   Shane J. Moses (250533)
        FOLEY & LARDNER LLP
    3   555 S. Flower St., 33rd Floor
        Los Angeles, CA 90071
    4   Telephone: 213.972.4500
        Email: amcdow@foley.com
    5          jsimon@foley.com
               smoses@foley.com
    6

    7   Attorneys for Debtors and Debtors in
        Possession, SCOOBEEZ, SCOOBEEZ GLOBAL,
    8   INC., and SCOOBUR, LLC
    9
                                   UNITED STATES BANKRUPTCY COURT
  10
                                    CENTRAL DISTRICT OF CALIFORNIA
  11
                                             LOS ANGELES DIVISION
  12
                                                              Case No. 2:19-bk-14989-WB
  13        In re:                                            Jointly Administered:
                                                              2:19-bk-14991-WB; 2:19-bk-14997-WB
  14        SCOOBEEZ, et al.1
                                                              Chapter 11
  15                   Debtors and Debtors in Possession.

  16        Affects:                                          DEBTORS’ NOTICE OF FILING OF
  17                                                          HILLAIR NOTICE OF TERMINATION OF
            ■ All Debtors                                     STALKING HORSE PURCHASE
  18                                                          AGREEMENT
            □ Scoobeez, ONLY
  19        □ Scoobeez Global, Inc., ONLY
  20                                                          Hearing:
            □ Scoobur LLC, ONLY                               Date: November 18, 2019
  21                                                          Time: 10:00 a.m.
                                                              Place: Courtroom 1375
  22                                                                 U.S. Bankruptcy Court
                                                                     255 East Temple Street
  23                                                                 Los Angeles, CA 90012

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  28      The Debtors and the last four digits of their respective federal taxpayer identification numbers are as
        follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The Debtors’
        address is 3463 Foothill Boulevard, Glendale, California 91214.

4830-3276-0493.1
        Case 2:19-bk-14989-WB         Doc 435 Filed 11/13/19 Entered 11/13/19 18:23:27                Desc
                                       Main Document    Page 2 of 7


    1

    2   TO THE HONORABLE JULIA BRAND, UNITED STATES BANKRUPTCY JUDGE,

    3   AND ALL INTERESTED PARTIES:

    4              PLEASE TAKE NOTICE of that the Debtors have received from counsel for Hilliar Capital

    5   Management, LLC (“Hilliar”) the letter (the “Hillair Termination Letter”), a true and correct copy of

    6   which is attached hereto as Exhibit A. The Hilliar Termination Letter states that it “shall constitute

    7   notice of termination of” the Asset Purchase Agreement dated September 11, 2019 (“APA”), as

    8   amended, by and between Hillair and the Debtors.

    9
        DATED: November 13, 2019                       FOLEY & LARDNER LLP
  10

  11                                                   /s/ Shane J. Moses
  12                                                   Shane J. Moses

  13                                                   Ashley M. McDow (245114)
                                                       John A. Simon (admitted Pro Hac Vice)
  14                                                   Shane J. Moses (250533)

  15                                                   Attorneys for Debtors SCOOBEEZ, SCOOBEEZ
                                                       GLOBAL, INC., and SCOOBUR, LLC
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                                                                                              PLEADINGTITLESHORT
                                                        -1-                         Case No. 2:19-bk-14989-WB
4830-3276-0493.1
Case 2:19-bk-14989-WB   Doc 435 Filed 11/13/19 Entered 11/13/19 18:23:27   Desc
                         Main Document    Page 3 of 7




                        EXHIBIT A
Case 2:19-bk-14989-WB                 Doc 435 Filed 11/13/19 Entered 11/13/19 18:23:27                                    Desc
                                       Main Document    Page 4 of 7


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      865 South Figueroa Street, 10th Floor, Los Angeles, California 90017-2543 | TEL (213) 443-3000 FAX (213) 443-3100




                                                                                                     WRITER'S DIRECT DIAL NO.
                                                                                                               (213) 443-3602

                                                                                                     WRITER'S EMAIL ADDRESS
                                                                                             ericwinston@quinnemanuel.com



November 1, 2019


VIA E-MAIL

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Shane J. Moses                                                  Levene Neale Bender Yoo & Brill L.L.P.
smoses@foley.com                                                10250 Constellation Blvd Ste. 1700
Foley & Lardner LLP                                             Los Angeles, CA 90067
555 S. Flower St., 33rd Floor
Los Angeles, CA 90071

Scoobeez Global, Inc.
Attn.: Brian Weiss
Chief Restructuring Officer
bweiss@force10partners.com
Force Ten Partners, LLC
20341 SW Birch Suite 220
Newport Beach, CA 92660

Re:     Notice of Termination of Asset Purchase Agreement

Dear: Messrs. Simon, Weiss, Neale, and Fritz and Ms. McDow:

       As you know, this office represents Hillair Capital Management LLC (“Hillair”).
Reference is made to the Asset Purchase Agreement dated September 11, 2019 (“APA”), as
amended, by and between Hillair and the Debtors. This letter shall constitute notice of
termination of the APA by Hillair.

       Section 9.1(d) of the APA sets forth, as a condition precedent to Closing1, that no
Material Adverse Effect shall have occurred. “Pursuant to the APA, “ ‘Material Adverse Effect’
means any event, change, circumstance or occurrence that, individually or in the aggregate, has

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    All capitalized terms not defined herein have the meaning ascribed to them in the APA.

      quinn emanuel urquhart & sullivan, llp
      LOS ANGELES | NEW YORK | SAN FRANCISCO | SILICON VALLEY | CHICAGO | WASHINGTON, DC | HOUSTON | SEATTLE | BOSTON | SALT LAKE CITY
      LONDON | TOKYO | MANNHEIM | HAMBURG | PARIS | MUNICH | SYDNEY | HONG KONG | BRUSSELS | ZURICH | SHANGHAI | PERTH | STUTTGART
Case 2:19-bk-14989-WB         Doc 435 Filed 11/13/19 Entered 11/13/19 18:23:27                   Desc
                               Main Document    Page 5 of 7



had or could reasonably be expected to have or result in (i) a material adverse effect on the
business, assets, results of operations or financial condition of Sellers, the Business or the
Purchased Assets…”

        As you know, Amazon has provided notice of its intent to terminate its agreement(s). As
the Amazon contract represents the one and only revenue generating Purchased Asset and is the
sole entire basis of the APA and the Debtors’ business, the termination by Amazon constitutes a
material and adverse effect on the business and assets to be acquired. As a result, closing
condition 9.1(d) of the APA cannot be met.

        In addition, the Sellers cannot fulfil its obligations under Section 4.2(d) of the APA
which requires Sellers to deliver to Buyer “…all assignments and consents necessary for the
assignment of all of Sellers’ rights, title, and interest in any business arrangements with
Amazon.com, Inc. and any of its Affiliates.” Further, section 5.13 of the APA, regarding
contracts, states that “[t]o Sellers’ Knowledge, Seller is not in breach of or in default under any
Purchased Contract, except to the extent such breach or default will be cured as a result of the
payment of the applicable Cure Amounts. Each Purchased Contract is, or will be upon the
Closing, valid, binding and in full force and effect in accordance with its terms.” As Amazon
has given notice of termination of the Amazon contract, with represents a Purchased Contract,
the representations in 5.13 cannot be met, further causing closing condition precedents in 9.1 of
the APA to fail.

        As material closing conditions set forth in Section 9.1 have become incapable of
fulfillment, Buyer hereby provides notice of its right to terminate the APA pursuant to
Section 4.4(c). Hillair does not waive any rights and the failure to reference any facts or
additional provisions of the APA shall not be a waiver of any rights or remedies, all of which are
reserved.

Very truly yours,



Eric Winston

EW

cc:       Crystal Nix-Hines
          Adam Friedman
09533-00001/11164720.1




                                                 2
       Case 2:19-bk-14989-WB                    Doc 435 Filed 11/13/19 Entered 11/13/19 18:23:27                                       Desc
                                                 Main Document    Page 6 of 7


                                                      PROOF OF SERVICE OF DOCUMENT

        I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
        Foley & Lardner LLP, 555 South Flower Street, Suite 3300, Los Angeles, CA 90072-2411




        A true and correct copy of the foregoing document entitled (specify):
        DEBTORS’ NOTICE OF FILING OF HILLAIR NOTICE OF TERMINATION OF STALKING HORSE PURCHASE
        AGREEMENT
        will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
        and (b) in the manner stated below:

        1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
        General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
        document. On 11/13/2019         , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding
        and determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at
        the email addresses stated below:



                                                                                           Service information continued on attached page

        2. SERVED BY UNITED STATES MAIL:
        On (date) 11/13/2019           , I served the following persons and/or entities at the last known addresses in this
        bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the
        United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
        declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

        Honorable Julia W. Brand
        United States Bankruptcy Court
        Central District of California
        Edward R. Roybal Federal Building and Courthouse
        255 E. Temple Street, Suite 1382
        Los Angeles, CA 90012

                                                                                           Service information continued on attached page

        3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
        method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)               ,I
        served the following persons and/or entities by personal delivery, overnight mail service, or (for those who
        consented in writing to such service method), by facsimile transmission and/or email as follows. Listing the judge
        here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed no later
        than 24 hours after the document is filed.


                                                                                           Service information continued on attached page

        I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


           11/13/2019                     Shane J. Moses                                           /s/ Shane J. Moses
           Date                           Printed Name                                             Signature




               This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


         June 2012                                                                                F 9013-3.1.PROOF.SERVICE
4830-3276-0493.1
       Case 2:19-bk-14989-WB                      Doc 435 Filed 11/13/19 Entered 11/13/19 18:23:27                                       Desc
                                                   Main Document    Page 7 of 7


        1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

                  Richard T Baum rickbaum@hotmail.com, rickbaum@ecf.inforuptcy.com
                  Bradley E Brook bbrook@bbrooklaw.com, paulo@bbrooklaw.com;brookecfmail@gmail.com
                  Richard W Esterkin richard.esterkin@morganlewis.com
                  John-Patrick M Fritz jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
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                  David Brian Lally davidlallylaw@gmail.com
                  Alvin Mar alvin.mar@usdoj.gov, dare.law@usdoj.gov
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                  Steven M Spector sspector@buchalter.com, IFS_efiling@buchalter.com;salarcon@buchalter.com
                  United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
                  Kimberly Walsh bk-kwalsh@texasattorneygeneral.gov
                  Eric D Winston ericwinston@quinnemanuel.com
                  Eric K Yaeckel yaeckel@sullivanlawgroupapc.com




                 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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